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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

D.H.,                                    :
                                         :
        Plaintiff,                       :
                                         :       CIVIL ACTION FILE NO.
        v.                               :       1:22-cv-03419-JPB
                                         :
TUCKER INN INCORPORATED                  :
d/b/a SUPER 8 BY WYNDHAM,                :
                                         :
        Defendant.                       :
                                         :

    PLAINTIFF’S NOTICE OF FILING EXHIBITS FOR PLAINTIFF’S
 BRIEF IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Plaintiff files this Notice of Filing Summary Judgment Exhibits as it relates to

Plaintiff’s Brief in Support of Plaintiff’s Response in Opposition to Defendant’s

Motion for Summary Judgment to assist the Court in its review of the evidence that

Plaintiff cites in responding to Defendant’s summary judgment motion. Pursuant to

Local Rule 56.1(B)(2) Plaintiff is also filing a response to the Defendants’ statement

of facts as well as Plaintiff’s own statement of additional facts which Plaintiff

contends are material and present a genuine issue for trial.

        In all of Plaintiff’s responsive filings, Plaintiff refers to the evidence in the

record that is attached to this Notice and listed below by exhibit numbers. Where



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Plaintiff cites to these exhibits in their filings, she does so with reference to these

exhibit numbers, which will mostly be found with specific record citations.

      In addition, many of the exhibits listed below contain either confidential

information or information prohibited from being filed publicly. As noted below,

Plaintiff files only the redacted versions of such documents. Consistent with the

Local Rules and per the Judge’s Standing Order, Plaintiff is separately filing a motion

to seal the unredacted, full copies of any such documents and will be provisionally

filing those documents under seal.

      Finally, because of technical restrictions, Plaintiff is filing these exhibits in

batches and noting in the title of each Notice the range of Exhibits included in that

batch. This first batch contains the following documents:

                                                              Redacted or
                                                             Requested to be
Ex.                                                              Sealed
No.        Date                  Description

1                    News Articles

2                    Patel Felder Dep.
                                                             Redacted excerpts
3                    Brown Trial Transcript Vol. 2             filed; Sealed
                                                                 transcript
                     D.H. Dep                                 Excerpts filed;
4                                                            Sealed transcript
                      Def. 30(b)(6)
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                                                       Redacted excerpts
6                  Brown Trial Transcript Vol. 3         filed; Sealed
                                                           transcript
                                                       Redacted excerpts
7                  D.H. Dec.                             filed; Sealed
                                                           transcript
                                                        Excerpts filed;
8                  Gibbs Dep.
                                                       Sealed transcript
                   D.H. Police Report
9
                   Frank Brown Sentence                  Redacted copy
10                                                        filed; Sealed
                   Online Reviews                       Redacted copies
11                                                       filed; Sealed
                   Incident Reports
12
                   D.S. Dep.                           Redacted excerpts
                                                         filed; Sealed
13                                                         transcript
                   J.J. Dec.                            Redacted copy
14                                                       filed; Sealed
                   Lively Dec.
15
                   E.M. Dep.                             Excerpts filed;
16                                                          Sealed
                   Williams Dep                          Excerpts filed;
17                                                          Sealed
                   Tonya Harris Dep.                     Excerpts filed;
18                                                          Sealed
                   Gibbs Dec.
19
                   E.M. Police Report
20
                   Atlas Report                        Redacted excerpts
21                                                       filed; Sealed

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                     Folio, exhibit 9, Frank Brown
22                   Trial

      Respectfully submitted this 8th day of December, 2023.


                                       ANDERSEN, TATE, and CARR, P.C.

                                       /s/ Jonathan S. Tonge______________
                                       Patrick J. McDonough
                                       Georgia Bar No. 489855
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                               CERTIFICATION

      This is to certify that the foregoing has been prepared with one of the

following font and point selections approved by the court in LR 5.1, NDGA.

Specifically, the above-mentioned pleading was prepared using Times New Roman,

14-point font.

      This 8th day of December, 2023.


                                       ANDERSEN, TATE, and CARR, P.C.

                                       /s/ Jonathan S. Tonge______________
                                       Patrick J. McDonough
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record:

      Respectfully submitted this 8th day of December, 2023.


                                        ANDERSEN, TATE, and CARR, P.C.

                                        /s/ Jonathan S. Tonge______________
                                        Patrick J. McDonough
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